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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

DONNA MICHAEL

       Plaintiff,

V.                                                    CIVIL ACTION NO.
                                                      8:12-CV-00359 JFM

FULTON, FRIEDMAN & GULLACE, LLP

       Defendant.

                            MOTION FOR RECONSIDERATION


       Plaintiff Donna Michael respectfully request that this Court order the defendant Fulton,

Friedman & Gullace, LLP to pay in additional to the Offer of Judgment of $1,500 and the

Order of the Court to pay attorney fees that it also is ordered to pay the Filing fee of $350,

receipt number 14637057186 [Doc. No. 1].

Plaintiff makes this request as defendant has failed to make payment for the Offer of Judgment

dated March 22, 2012 [Doc. No. 7] and for its willingness to pay the filing fee in said Offer of

Judgment.



THE PLAINTIFF


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                                        CERTIFICATION

I hereby certify that on 5/8/12 a copy of the foregoing was filed electronically and served by mail

on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.




BY/S/Bernard T. Kennedy
